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UNUM LIFE INSURANCE COMPANY JUDGMENT IN A CIVIL CASE
OF AMERICA,
Plaintiff,
v.
CHARLES R. HOLLAN]), CASE NO: 2:05-2217-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Compromise
And Dismissal entered on July 5, 2005, this cause is hereby dismissed With prejudice.

 

THOMAS M. GOULD

Clerk of Court

 

(By) DeputyC rk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
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Honorable J. Breen
US DISTRICT COURT

